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5    Attorneys for Plaintiff JOHN MCGRAW
6                              IN THE UNITED STATES DISTRICT COURT
7                                 DISTRICT OF LAS VEGAS, NEVADA

8
     JOHN MCGRAW,                   )                   CASE NO. 2:22-cv-01414-APG-NJK
9    Plaintiff,                     )
                                    )
10   vs.                            )                   STIPULATION AND ORDER EXTENDING
                                    )                   TIME FOR PLAINTIFF TO FILE
11
     CHARLES KIM, individually;     )                   RESPONSE TO DEFENDANT FIRST
12   LINDEN HOSPITALITY, LLC; FIRST )                   AMERICAN TITLE INSURANCE
     AMERICAN                       )                   COMPANY’S MOTION FOR AWARD OF
13   TITLE INSURANCE COMPANY;       )                   ATTORNEY’S FEES AND COSTS OF
     LHP RIVERHOUSE HOLDING, LLC; )                     LITIGATION AGAINST PLAINTIFF JOHN
14   DOES IX, and ROE CORPORATIONS )                    MCGRAW
     I-X, inclusive,                )
15   Defendants                     )
16
            Plaintiff JOHN MCGRAW, Defendants CHARLES KIM, individually; LINDEN
17
     HOSPITALITY, LLC and FIRST AMERICAN TITLE INSURANCE COMPANY, by and through
18
     their undersigned counsel, hereby agree to extend the time for Plaintiff to file response to Defendant
19
     First American Title Insurance Company’s motion for award of attorney’s fees and costs of litigation
20

21   against Plaintiff John McGraw up to and including February 28, 2025, as set out herein below.

22
     Date: February 21, 2025                                /s/ Paul W. Chandler_________________
23                                                          Paul W. Chandler, Esq.
                                                            CHANDLER LAW FIRM, APC
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                                                            Attorneys for Plaintiff JOHN MCGRAW
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1                                            I.
                            INTRODUCTION AND STATEMENT OF FACTS
2
            Defendant First American Title filed its Motion for Summary Judgment which was Granted
3

4    on January 21, 2025. [ECF No. 96]. On February 4, 2025, First American Title filed a motion

5    seeking an award of attorney’s fees and costs of litigation. [ECF No. 111]. The parties are presently

6    attempting to resolve these matters informally and previously stipulated to extend the time for
7
     Plaintiff to file his response/opposition to the motion of First American Title until and including
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     February 21, 2025. Another extension of time for one week, up to and including February 28, 2025,
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     is necessary so that the parties can continue their discussions to resolve this matter before being
10
     required to file a response/opposition to the subject motion.
11
            This extension request is made in good faith, jointly by the parties, and not for the purposes
12

13   of delay. Moreover, since this request is a joint request, no party will be prejudiced by granting the

14   extension. The parties respectfully submit that the reasons set forth above constitute compelling

15   reasons for the short extension. Nothing contained herein shall be deemed an admission or waiver of
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     any right belonging to any party hereto.
17
            WHEREFORE, the parties respectfully request that this Court extend the aforementioned
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     period as requested.
19
     IT IS SO STIPULATED:
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21
     DATED this 21st day of February 2025.
22

23   /S/ John M. Langevele_____________
     John M. Langeveld, Esq.
24   Gerrard Cox Larsen
     2450 St. Rose Pkwy., Ste. 200 Henderson, NV 89074
25
     Telephone: (702) 796-4000
26   Attorneys for First American Title Insurance Company

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1    DATED this 21st day of February 2025.
2

3
     /s/ Paul W. Chandler___________
     Paul W. Chandler, Esq.
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     Admitted Pro Hac Vice
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     Attorneys for Plaintiff JOHN MCGRAW
8
     DATED this 21st day of February 2025
9

10   /S/ Tyler N. Ure___________
     Tyler N. Ure, Esq.
11
     Nevada Bar No. 11730
12   MURCHISON & CUMMING, LLP
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13   Las Vegas, Nevada 89145
     Telephone: (702) 360-3956
14   Facsimile: (702) 360-3957
     ture@murchisonlaw.com
15   Attorneys for Defendants, CHARLES KIM
16
     and LINDEN HOSPITALITY

17

18
        IT IS SO ORDERED:
19
               February 26, 2025
        Dated:__________________
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                                                ________________________
21
                                                ANDREW P. GORDON
22                                              CHIEF UNITED STATES DISTRICT JUDGE

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